Case 2:05-cv-02333-SHl\/l-dl<v Document 8 Filed 07/08/05 Page 1 of 3 , PagelD 4

 

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THoMAs & BETTs lNTERNATloNAL, lNc. wl %§Uigmii;rrll§m
and THOMAs & BETTs coRPoRATloN,
Plaintiffs,
v. civil Action No. 05-0\/-2333 _ Ma v

JOHN |V|EZZALINGUA ASSOC|ATES, |NC.
d/b/a PPC, INC.,

Defendant.

 

ORDER GRANTING UNOPPOSED MOT|ON OF DEFENDANT
FOR EXTENS|ON OF T||VlE TO F|LE RESPONSIVE PLEAD|NG

 

Before the Court is the unopposed lVlotion of defendant for an extension of time
within which to tile its pleading in response to the plaintiffs’ Complaint. For good cause
shown, the Court grants the defendant’s lVlotion and the defendant shall have up to and

including July 20, 2005, within which to file its responsive pleading

SO ORDERED.

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with Fiule 58 and/or 79(a) FF\CP on

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CERT|F|QATE OF SERV|CE

l, Charles F. Newman, hereby certify that on this 6th day of July, 2005, a copy of
the foregoing document has been served, via U.S. Mail, postage prepaid, to the
following counsel of record:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
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July 11, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

